Case 1:16-cv-00347-JMS-RLP Document 270 Filed 03/21/18 Page 1 of 2                         PageID #:
                                   2200


                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

ATOOI ALOHA, LLC, ET AL.,                                Civ. No. 16-00347 JMS-RLP

                       Plaintiffs,                       RULE 54(b) PARTIAL FINAL
       vs.                                               JUDGMENT

ABNER GAURINO, ET AL.,

                Defendants.
__________________________________

AND RELATED CROSSCLAIMS AND
COUNTERCLAIMS.


                     RULE 54(b) PARTIAL FINAL JUDGMENT

               Counsel for Defendant/Counter-Claimant/Third-Party Plaintiff Apt-

320, LLC, has requested entry of a separate Partial Final Judgment incorporating

language pursuant to Federal Rule of Procedure Rule 54(b). ECF No. 269.1 The

request is in accordance with Hawaii’s procedure for bifurcated foreclosure

proceedings,2 and it is consistent with this court’s Order Re: Motions for Summary


       1
        Apt-320, LLC requested Rule 54(b) language in the underlying unopposed Motion for
Summary Judgment, ECF No. 164 at 2-3, but no such language was included in the Foreclosure
Decree submitted to the court, see ECF No. 262.
       2
         See, e.g. City Bank v. Abad, 106 Haw. 406, 412-13, 105 P.3d 1212, 1218-19 (Haw. Ct.
App. 2005) (“[F]oreclosure cases are bifurcated into two separately appealable parts: (1) the
decree of foreclosure and the order of sale, if the order of sale is incorporated within the decree;
and (2) all other orders.”) (quoting Sec. Pac. Mortg. Corp. v. Miller, 71 Haw. 65, 70, 783 P.2d
885, 857 (1989)) (other citation omitted).
Case 1:16-cv-00347-JMS-RLP Document 270 Filed 03/21/18 Page 2 of 2                  PageID #:
                                   2201


Judgment and Motion for Interlocutory Decree of Foreclosure, ECF No. 238; Atooi

Aloha, LLC v. Gaurino, 2018 WL 650194 (D. Haw. Jan. 31, 2008), and the

Foreclosure Decree; Exhibit “A,” filed March 1, 2018, ECF No. 262.

              Thus, finding no just reason for delay, the request is GRANTED.

FINAL JUDGMENT is hereby entered in favor of APT-320, LLC and against

Plaintiffs Atooi Aloha, LLC, Craig B. Stanley, individually and as Trustee for the

Edmon Keller and Cleavette Mae Stanley Family Trust, and Milicent Andrade;

Defendant Abigail Gaurino; and Third-Party Defendant Association of Apartment

Owners of Diamond Head Sands on the following: (1) Apt-320, LLC’s First

Amended Foreclosure Counterclaim Against Plaintiffs and Cross-Claim against

Defendant Abigail Gaurino, filed June 2017, ECF No. 57; and (2) Apt-320, LLC’s

Third-Party Complaint Against Association of Apartment Owners of Diamond

Head Sands, file September 26, 2017, ECF No. 145.


              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, March 21, 2018.

                                              /s/ J. Michael Seabright
                                             J. Michael Seabright
                                             Chief United States District Judge



Atooi Aloha, LLC v. Gaurino, et al., Civ No. 16-00347 JMS-RLP, Rule 54(b) Partial Final
Judgment



                                              2
